






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-08-247 CR


____________________



ROSE ANNA LORAH, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court 


Jefferson County, Texas


Trial Cause No. 95801






MEMORANDUM OPINION


	We have before the Court a request from the appellant, Rose Anna Lorah, to dismiss
her appeal.  See Tex. R. App. P. 42.2.  A request to dismiss the appeal is signed by appellant
personally and joined by counsel of record.  No opinion has issued in this appeal.  The
motion is granted, and the appeal is therefore dismissed. 

	APPEAL DISMISSED. 	

                                                                            __________________________________

                                                                                              CHARLES KREGER

                                                                                                         Justice

Opinion Delivered June 25, 2008

Do not publish

Before McKeithen, C.J., Kreger and Horton, JJ.


